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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
     v.                            )         2:17cr100-MHT
                                   )              (WO)
DUANTE RAHEEM TALLEY               )

                                 ORDER

    It    is   ORDERED    that    the    government's     motion       for

dismissal      of   the   Forfeiture       Allegation-1       in       the

superseding indictment as to defendant Duante Raheem

Talley (doc. no. 76) is granted.

    DONE, this the 7th day of August, 2017.

                                    /s/ Myron H. Thompson____
                                 UNITED STATES DISTRICT JUDGE
